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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,                  Civil Action No. 2:15-cv-998-JRG-JRP
                v.                                   CONSOLIDATED LEAD CASE
  NVIDIA CORPORATION, et al.,

                       Defendants.


                                     ORDER OF DISMISSAL

        Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant
 .
 NVIDIA Corporation (“Defendant”) (collectively, the “Parties”), Joint Motion to Dismiss (the

 “Motion”).

        The Court, having considered the Parties’ Motion, finds that the Motion should be

 GRANTED.

        IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this action

 against Defendant are dismissed WITH prejudice.

               IT IS FURTHER ORDERED that each party shall bear its own costs, expenses, and

 all attorneys’ fees.
           SIGNED this 3rd day of January, 2012.
        SIGNED this 21st day of July, 2016.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
